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15                       UNITED STATES DISTRICT COURT
16                      EASTERN DISTRICT OF CALIFORNIA
17
18
19   UNITED STATES OF AMERICA,       )        CASE NO.:    1:07-CR-0282-LJO
                                     )
20                        Plaintiff, )        ORDER SHORTENING
                                     )        TIME TO FILE DEFENDANT UBALDO
21        v.                         )        AYON-HERRERA’S RESPONSE TO
                                     )        PRESENTENCE INVESTIGATION
22   UBALDO AYON-HERRERA,            )        REPORT AND SENTENCING
                                     )        MEMORANDUM OR, ALTERNATIVELY,
23                        Defendant. )        CONTINUING SENTENCING HEARING
     ________________________________)
24
25        Upon consideration of defendant’s application, and for good
26   cause shown,
27        IT IS HEREBY ORDERED that:
28             Defendant Ubaldo Ayon-Herrera’s Response to Presentence
               Investigation Report and Sentencing Memorandum shall be
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 1                 accepted       for   filing    as   of   April   3,   2009,   and   the
 2                 sentencing hearing shall proceed on April 10, 2009, at
 3                 9:00 a.m.
 4
 5
 6            IT IS SO ORDERED.
 7   Dated:     April 3, 2009                   /s/ Lawrence J. O'Neill
     b9ed48                                 UNITED STATES DISTRICT JUDGE
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